                                         Case 1:16-cr-00429-CCB Document 385 Filed 02/18/20 Page 1 of 6
Sheet I • Jud2.mcnl in a Criminal Case with Supervised Release (Rev. 1212019)                                                                Jude:ment Pa2c 1 of 6
                                                                                                                                             KAM'

                                                                    United States District Court
                                                                                   District of Maryland
                          UNITED STATES                                 OF AMERICA              .JUDGMENT       IN A CRIMINAL         CASE
                                                                                                (For Offenses Committed on or After November L 1987)
                                                                   v.
                                                                                                Case Number: CCB-I-16-CR-00429-001
                                  CHARLES                      GILLlAM,.JR.                     Defendant's Attorney: Gerald C Ruter, Esq.
                                                                                                Assistant U.S. Attorney: Derek E Hines & Leo J. Wise


THE DEFENDANT:
IZl pleaded guilty to count One (I)
o   pleaded nolo contendere to count(s) __     ' which was accepted                                          by the court,
o was found guilty on count(s) __       after a plea of not guilty.



                                                                                                                           Date                     Count
                       Title       &    Section                                      Nature of Offense              Offense Concluded              Number!s)
                 2 I :84 I (b)(I )(13)                                    Conspiracy To Distribute and Possess          8/24/2016                        I
                                                                           With Intent To Distribute Cocaine
                                                                                    Base and Heroin




    The defendant is adjudged guilty of the offenses listed above and sentenced as provided in pages 2
through   6      of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by U.S. v. Booker. 543 U.S. 220 (2005).

o      The defendant has been found not guilty on count(s) __
o      Counts      is/are dismissed on the motion of the United States.

     IT IS FURTHER     ORDERED      that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name. residence. or mailing address until all fines. restitution. costs, and special
assessments imposed by this judgment are fully paid.


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Name of Court Reporter: Douglas Zweizig
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Sht:el 2 - Judgment in a Criminal Cl<;e with Supef\'ised Release (Rev. 12/2019)                                               Judgment Page 2 of 6
 DEFENDANT:            Charles Gilliam, Jr.                                                          CASE NUMBER: CCB-l-16-CR-00429-00       I


                                                                   IMPRISONMENT


    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 210 months.

I:8J The court makes the following recommendations to the Bureau of Prisons: (I) that the defendant participate
in any substance abuse program for which he may be eligible including the Residential Drug Abuse Program; (2)
that the defendant participate in any appropriate mental health evaluation and treatment program; and (3) that the
defendant be placed in a facility consistent with his security level that is as close as possible to Baltimore.
Maryland so he may be close to his family.

I:8J The defendant is remanded to the custody of the United States Marshal.

o    The defendant shall surrender to the United States Marshal for this district:

     o    at __      a.m.lp.m. on __    '
     o    as notified by the United States Marshal.

o    The defendant shall surrender, at hisfher own expense. to the institution designated by the Bureau of Prisons
     at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
     the defendant does not receive such a written notice, defendant shall surrender to the United States Marshal:

     o     before 2pm on                                                                                _

A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to tbe penalties of Title 18 U.S.c. ~3146. If convicted of an offense while on release,
the defendant shall be subject to the penalties set forth in 18 U.S.c. ~3147. For violation of a condition of
release, the defendant shall he subject to the sanctions set forth in Title 18 U.S.c. ~3148. Any bond or
property posted may be forfeited and judgment entered against the defendant and the surety in the full
amount of the bond.

                                                                           RETURN

I have executed this judgment as follows:

     Defendant delivered on __                      to __         at __           ' with a certified copy of this judgment.



                                                                                  UNITED STATES MARSHAL


                                                                                  By:                                                            _
                                                                                  DEPUTY U.S. MARSHAL
                       Case 1:16-cr-00429-CCB Document 385 Filed 02/18/20 Page 3 of 6
Sheet 3 - Judgment in a Criminal Ca"c with Supervised Release (Rev. 1212019)                                             Judgment Page 3 of 6
 DEFENDANT:           Charles Gilliam, Jr.                                                CASE NUMBER: CCB.I-16-CR-00429-00             I


                                                         SUPERVISED             RELEASE
     Upon release from imprisonment. the defendant shall be on supervised release for a term of 5 vears.

The defendant shall comply with all of the following conditions:

   The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

                                                A.       MANDATORY CONDITIONS
I)   You must not commit another federal. state or local crime.
2)   You must not unlawfully possess a controlled substance.
3)   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter. as determined by the court.
     o    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance

4)
     abuse. (check ifapplieahle)
     0 You must make restitution in accordance \vith 18 U.S.c.
     rcstitution. (check i/applieable)
                                                                               ~*
                                                                         3663 and 3663A or any other statute authorizing a sentence of

5)   You must cooperate in the collection of DNA as directed by the probation oflicer.
6)   0 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.c. S 20901. ef seq.) as
     directed by the probation ollicer. the Bureau of Prisons. or any state sex offender registration agency in the location where you
     reside, work. are a student. or were convicted of a qualifying otTense. (check if applicable)
7)   0 You must participate in an approved program for domestic violence. (check ifapplieable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page
                                B.       STANDARD CONDITIONS                        OF SUPERVISION
As part of your supervised release. you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I)   You must report to the probation oflice in the federal judicial district where you are authorized to reside within 72 hours of your
     release from imprisonment, unless the probation ofticer instructs you to repot1 to a different probation otlice or within a different
     time frame.
2)   After initially reporting to the probation oflice. you will receive instructions from the court or the probation oflicer about how and
     when you must report to the probation oHicer, and you must report to the probation officer as instructed.
3)   You must not kno\vingly leave the federal judicial district where you are <luthorized to reside \vithout first gelling permission from
     the court or the probation officer.
4)   You must answer truthfully the questions asked by your probation officer.
5)   You must live at a place approved by the probation omcer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with). you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware ofa change or expected change.
6)   You must allow the probation oflker to visit you at any time at your home or elsewhere. and you must permit the probation officer
     to take any items prohibited by the conditions of your supervision that he or she observes in plain vie\\'.
7)   You must work full time (at least 30 hours per week) at a lawlul type of employment. unless the probation oflicer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation otlicer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities). you must notify the probation oOicer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances. you must notify the probation officer \\'ithin 72 hours of
     becoming aware of a change or expected change.
8)   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation oOicer.
                        Case 1:16-cr-00429-CCB Document 385 Filed 02/18/20 Page 4 of 6

Shcct 4 - Judgment in a Criminal Casc with Supervised Release (Rev. 1212019)                                       Judgment Page 4 of 6
  DEFENDANT:          Charles Gilliam, Jr.                                                CASE NUMBER: CCB-l-16-CR-00429-00       I


9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
    was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
    tasers).
II) You must not act or make any agreement with a lav.' enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
    require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
    person and confirm that you have notified the person about the risk.
13) You must follow the instructions of the probation officer related to the conditions of supervision.


                                                    C.   SUPERVISED RELEASE
                                                     ADDITIONAL CONDITIONS


You must participate in a substance abuse treatment program and follow the rules and regulations of that
program. The probation officer will supervise your participation in the program (provider, location, modality,
duration, intensity, etc.).

You must submit to substance abuse testing to determine if you have used a prohibited substance. You must not
attempt to obstruct or tamper with the testing methods.

You must participate in a mental health treatment program and follow the rules and regulations of that program.
The probation officer, in consultation with the treatment provider, will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.).

You must participate in a vocational services program and follow the rules and regulations of that program. Such
a program may include job readiness training and skills development training.

You must provide the probation officer with access to any requested financial information and authorize the
release of any financial information. The probation office may share financial information with the U.S.
Attorney's Office.




U.S. Probation     Office Use Only

 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Oven'iew of Probation and Supervised
 Release Conditions, available at: W\\fW.uscourts.gov.


Defendant's Signature                                                      _   Date   ---------
                          Case 1:16-cr-00429-CCB Document 385 Filed 02/18/20 Page 5 of 6

Sh~el5. Part A - Judgment in a Criminal Case Wilh Super •.is('d Release (R('\', 1212019)                                                Judgmenl Page 5 or 6
  I)EFENDANT:            Charles Gilliam, Jr.                                                                   CASE NUMBER: CCB-I-16-CR-00429-00      I


                                                   CRIMINAL MONETARY                                   PENALTIES
             The defendant must pay the tota! criminal monetary penalties under the schedule of payments on Sheet 5B.

                                    Assessment                     Restitution                     Fine         AVAA Assessment*    JVT A Assessment**
 TOTALS                                 SIOO.OO                            S.OO                 waived                       $.00
        o    CYB Processing Fee $30.00


        o    The: de:te:nnination ofr..-:stitution is deferred until   _____             . An Amended Judgment in a Criminal Case (AO 245C)
                                                                                         \vill be entered al1er such determination.

        o    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

            !fthe defendant makes a partial payment. each payee shall receive an approximately proportioned payment. unless specified
            otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. S 3664(i), all nonfedera!
            victims must be paid before the United States is paid.
               Name of Payee                  Total Loss***                 Restitution Ordered               Priorit,! or Percentage




   TOTALS                                     $                                             $
                                                  ----------                                    ----------
   o         Restitution amount ordered pursuant to plea agreement
                                                                                      -----------
   o        The defendant must pay interest on restitution and a fine of more than $2.500. unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(1). All of the payment options on Sheet 6
            may be subject to penalties for delinquency and default. pursuant to 18 USc. S 3612(g).

    o        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             o    the interest requirement is waived for the                  0   fine      D     restitution

             D    the interest requirement for the            0        fine       o      restitution is modified as follows:

    *   Amy. Vidy. and Andy Child Pornography Victim Assistance Act of2018. Pub. L. No. 115.299.
    *- Juslice: for Victims
                          ofTrallicking Act 01'2015. Pub. I,. No. 114-22
   ••• Findings for the total amount of losse:s are require:d under Chapters 109A. 110. II OA. and I13A of Title 18 I'm olTense:s committed on or
   atter Scptemhe:r 13. 1994. but hdore April 23. 1996.
                             Case 1:16-cr-00429-CCB Document 385 Filed 02/18/20 Page 6 of 6
Sheel 6. Judgment in a Criminal Case with Supervised Release (Rc\'. 1211019)                                                                 Judgmcnl Pagc 6 of 6
    OEFENllANT:              Charles Gilliam, ./r.                                                      CASE NUMBER: CCB-I-16-CR-00429-00                   I

                                                       SCHEDULE OF PA YMENTS
      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     181 In full immediately, or


B     0 $                    immediately. balance due (in accordance with C. D. or E), or

C     0 NOl latcr than                       , or

o     0 Installments to commence                      day(s) aner the date oflhisjudgmenL

E     0 In                (e.g. equal week(r. //lo/llhl.•..quarter(r) installments of 5              over a period of             year(s) to commence when
              the defendant is placed on supervised release.

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.

Unless the court expressly orders othcr\'~:ise. ifthis judgment imposes a period of imprisonment. payment of criminal monetary penalties
shall be due during the period of imprisonment. All criminal monetary penalties. except those payments made through the Bureau of
Prisons Inmate Financial Responsibility Program. are to be made to the Clerk orthe Court.

o  NO RESTITUTION  OR OTHER FINANCIAL                              PENALTY SHALL BE COLLECTEll                       THROUGH          THE INMATE
FINANCIAL RESPONSIBILITY  PROGRAM.

Iflhe entire amount of criminal monetary penalties is nol paid prior to the commencement of supervision. the balance shall be paid:

      o       in equal monthly installments during the term of supervision: or

      o       on a nominal payment schedule of $                per month during the term of supervision.

The U.S. probation oflicer may recommend a modilication of the payment schedule depending on the defendant's                              financial
circumstances.


Special instructions regarding the payment of criminal monetary penalties:

o     Joint and Several

    Case Number
    Defendant and Co-Defendant
    Names     (inell/cling    cJt..fendnnt                                          Joint and Several               Corresponding Payee,
    number)                                          Total Amount                        Amount                          if appropriate




o     The defendant shall pay the cost of prosecution.

o     The defendant shall pay the following court cost(s):

181 The defendant shall forfeit the defendant's              interesl in the following propert). to the United States:               Sec order of forfeiture
incorporated herein by reference.


Payments shall he applied in the following. order: (1) aSS':SSlllcnt. (2) restitution principal. (3) r.:stitution inlerest. (01) AVAA assessment. (5)
line principal. (6) tine intcr.:st. (7) cOl11mul1it~.r.:stitution. (8) JV-'"A asscssm.:nt. (9) penal lies. and (10) costs. including cost of prosecution
and court costs.
